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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

BILLIE MERCER, Individually and as Heir             §
To the Estate of Larry Jackson, Jr.; and            §
Larry Mercer, Individually, and as Heir to          §
The Estate of Larry Jackson, Jr.                    §
                                                    §
Plaintiffs                                          §
                                                    §       CIVIL ACTION NO. 1-13-cv-00830
vs.                                                 §
                                                    §
CHARLES KLEINERT, and                               §
THE CITY OF AUSTIN                                  §
Defendants                                          §

                    DEFENDANT THE CITY OF AUSTIN’S
               MOTION FOR A MORE DEFINITE STATEMENT TO
         KIRSTEN JACKSON’S AMENDED COMPLAINT IN INTERVENTION

TO THE HONORABLE UNITED STATES DISTRICT JUDGE LEE YEAKEL:

        COMES NOW, the City of Austin, Defendant, (hereinafter “the City”) and respectfully

files its Motion for a More Definite Statement to Kirsten Jackson’s Amended Complaint in

Intervention (Clerk’s Docket #52).

                                        INTRODUCTION

1.      Intervenor Kirsten Jackson sued the City pursuant to 42 U.S.C. §1983 but has since

amended her complaint in intervention to add “claims for negligence and assault as a result of the

conduct of Officer Kleinert.”        See paragraph 6(a) of Plaintiff’s Amended Complaint in

Intervention.

2.      The new allegations found in paragraph 6(a) are so vague and ambiguous that the City

cannot file a responsive pleading; therefore, the court should require Intervenor to amend her

complaint with a more definite statement of the new allegations found in this paragraph.
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                                          ARGUMENT

3.      Intervenor now alleges both negligence and assault as causes of action, but has not

indicated whether these causes are brought pursuant to federal or state law. Intervenor has failed

to plead the elements of the cause of action or clearly state facts for which she claims the City is

liable. Without further specificity, the City will not be able to properly prepare its defense to the

cause of action brought by Intervenor.


                                         CONCLUSION

4.      The new causes of action added in paragraph 6(a) of Plaintiff’s Amended Complaint in

Intervention are not specific enough to permit the City to file a responsive pleading. As a result,

the Court should require Intervenor to amend her complaint with a more definite statement of the

suit.


                                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 28, 2015, a true and correct copy of the foregoing
document has been electronically filed on the CM/ECF system, and a copy forwarded to the
following parties as follows:

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                                        ______________________________
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